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  NoFap's Forum Posting Rules and Etiquette Guidelines
  Tags:      forum guidelines        forum rules


   Thread Status: Not open for further replies.                                                                          



       Aug 10, 2017                                                                                                 #1

                                           Last Updated: March 08, 2019


                                           This page contains the rules for communicating using NoFap's
                                           forum. Failure to abide by these rules could result in the
                                           following:
             Moderation
               Team                                Removal of your post(s)
          Announcement                             A warning from the NoFap moderation team
             Account
                                                   Complete removal of your ability to post on NoFap
             Sta   Member
                                                   (muting/banning) for any period of time, including
                               31                 permanently
                            514                   In the case of advertising or spam, the URL may be
                                                   blacklisted from our network
                               53

                                           In addition to these forum communication rules, usage of
                                           NoFap constitutes agreement to NoFap's User Agreement
                                           (“https://www.nofap.com/user-agreement/”). Please read the
                                           rules and user agreement carefully before participating.


                                           NoFap hosts one of the most supportive user-bases on

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                                         the internet. Please help us keep it that way. Be nice to
                                         other users of our website, be helpful and supportive, be
                                         positive, and although you may not agree with somebody,
                                         always assume they are operating in good faith until proven
                                         otherwise.


                                         NoFap is a porn recovery and sexual health platform. For this
                                         reason, NoFap's forums are more heavily moderated than other
                                         forums that you might find online. This is to keep NoFap porn-
                                         free and conducive to our goals of fostering an environment
                                         friendly to a recovering porn addict.


                                         Do not post pornographic images or links to pornography.
                                         This will result in an immediate ban from the NoFap forum.


                                         Be sensitive to easily-aroused users. Please don't go into
                                         graphic detail about your sexual exploits or other sexually
                                         suggestive writing without using the "spoiler" code (as seen in
                                         the posting toolbar). Don't mention the names of specific porn
                                         websites or performers without blocking out the text with
                                         spoiler code. If you mention the name of a specific porn site, do
                                         not under any circumstances link to it. This will result in a ban.
                                         Because of some browsers automatically linking words that look
                                         like links (such as example.com), we strongly recommend
                                         leaving the .com off. Posts that are deemed by moderators to
                                         require “spoiler” code may be edited by moderators without
                                         prior notification.


                                         Please treat other NoFap users with respect. Avoid name
                                         calling, insults, and degrading comments. Do not
                                         personally attack other users. While everyone is welcome to
                                         express their opinion on the forum, please do so constructively.
                                         If you do not agree with something that someone has said, you
                                         are welcome to question it or challenge it. However blatant
                                         attacks on other users because of differing opinions or morals
                                         will not be tolerated. This includes spreading your opinions of a
                                         particular user publicly on the forum, and/or using the forums
                                         to incite negative opinion against a particular user in hopes the
                                         moderation team will ban them. Questioning the morals or
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                                         postings of another user is equivalent to publicly shaming them
                                         and will be subject to moderation action or warning. If you have
                                         concerns about a particular user, please contact a moderator
                                         privately through the Private Messaging (PM) system and/or
                                         report the user’s posts with the report button.


                                         If you choose to report a user, make your report
                                         privately. Publicly announcing that you are making a report or
                                         encouraging others to make a report will be considered trolling
                                         or a personal attack and will be subject to moderation action,
                                         especially if the user is not in violation of the rules.


                                         Misogyny, misandry, racism, anti-LGBT, or any sweeping
                                         statements pertaining to every member of a demographic
                                         of people are not permitted. Although we may have differing
                                         viewpoints, we're all here to provide an inclusive place to help
                                         each other abstain from PMO. Particularly, threads attacking
                                         women and threads based in hatred toward a specific group of
                                         people are not permitted on the forum and subject to
                                         moderation action or warning.



                                         If you reveal the identity of another user without
                                         permission, you will be banned. More commonly known as
                                         "doxxing," it is against the rules to post personal information
                                         publicly about another user without permission from that user.
                                         Threats to reveal the identity of another user are also grounds
                                         for being banned from the NoFap platform. Personal information
                                         includes real name, address, family information, career
                                         information, date of birth, or other information about
                                         themselves, whether gathered via personal messaging or from
                                         outside of NoFap, in a bad faith attempt to harm the person in
                                         some way. If somebody wants to remain anonymous, let them
                                         remain anonymous.


                                         Stay on topic. You are expected to post in the proper section.
                                         Guides to the kind of topics that belong in each section are
                                         posted and stickied at the top of each forum section. If, after
                                         reading the posting guides you are unsure which forum section
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                                         your thread belongs in, please ask a moderator for direction
                                         before posting. Don't hijack another user's threads with replies
                                         that are unrelated to the original post. Offtopic, hijacked, or
                                         incorrectly placed threads or posts may be moved or deleted
                                         and the user warned.


                                         Criticizing rebooting (abstaining from porn,
                                         masturbation, or even orgasm altogether) is permitted.
                                         We will not prevent you from expressing your opinions, even if
                                         we disagree with them. If you want to debate about porn or
                                         masturbation, don't derail another person's submission or try to
                                         discourage particular NoFap users - post a new thread to share
                                         your views.


                                         Respect other people's reboots. While it is alright to have
                                         your own opinions about the "proper" way to reboot, it is
                                         against the rules to actively discourage particular users from
                                         reaching their own individually-elected rebooting parameters.
                                         Violations are subject to moderation action or warning For
                                         example, encouraging a user who is abstaining from PMO in
                                         their thread to use pornography because using porn is "okay" to
                                         you is against the rules. But you can argue that point in your
                                         own thread. It is alright to answer questions "Is watching porn
                                         okay?" and offering your opinion, but only do so if your advice is
                                         solicited. It is also acceptable to recommend additional
                                         rebooting parameters ("hey, you should consider abstaining
                                         from orgasm too!"), just please don't discourage them from
                                         reaching the goals that they have already set for themselves.


                                         Giving advice. It is the belief at NoFap that all users,
                                         regardless of background, streak, or other factors, can have
                                         something to contribute to the community as a whole. Failing is
                                         its own learning process that imparts valuable lessons, and in
                                         any case, a user's current streak is not an accurate reflection of
                                         any past success or failure they have had in recovery. As such,
                                         no user shall call out, attack, or shame other users for giving
                                         advice due to reasons such as a low streak, not completing a
                                         professional recovery program, etc. Posts that discourage other
                                         members of the community from participating may be edited or
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                                         removed and the users subject to moderator action.


                                         Avatars and Images. As we have a large and diverse user-
                                         base, policies are created and enforced with all people
                                         considered. For example, while a photograph of a shirtless man
                                         might not be arousing for a straight male user, straight females
                                         and non-heterosexual men might find the photograph to be
                                         arousing.


                                         Sexually explicit images are always prohibited anywhere across
                                         the NoFap platform. Warnings are typically not given, and
                                         offenders will either be temporarily suspended from posting or
                                         permanently banned based on how explicit the material is.


                                         Sexually explicit material can include art, drawings, paintings,
                                         cartoons, 3D graphics, photographs, or any other image that
                                         appears on the screen.

                                                  Sexually provocative imagery is unacceptable for a porn
                                                  recovery forum. This includes clothed photos of porn
                                                  performers, clothed people in sexualized poses, clothed
                                                  animated porn characters, etc.
                                                  Images that feature lingerie, stockings, hosiery, or similar
                                                  are prohibited.
                                                  Topless photographs are not permitted for either men or
                                                  women.
                                                  Images that show a man or woman’s areolas are always
                                                  removed.
                                                  Images that show more than 25% of the chest and torso
                                                  skin are prohibited.
                                                  Foot-focused, chest/breast-focused, or sexualized body-
                                                  part focused images are prohibited.
                                                  This policy applies to weight-lifting photos, photos from
                                                  bands, movies, swimming, etc.
                                                  “Selfie style” photos are permitted as long as they fit
                                                  within the other guidelines.
                                                  Images associated with groups that promote violence
                                                  (KKK, Nazi, etc.) are always prohibited.


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                                                  Images that exhibit offensive gestures or text are not
                                                  allowed.
                                                  Images that contain gore are not allowed.
                                                  Images that violate copyrights or trademarks are
                                                  prohibited.
                                                  Any image that violates other forum rules, such as
                                                  advertising, is prohibited.

                                         It is possible for an image to be initially approved, and later
                                         overturned by another member of the Moderation Team. If your
                                         image is deleted and you are instructed to select a different
                                         image, continuing to select images that violate the rules will be
                                         considered to be disregarding moderator instructions, and may
                                         be subject to additional corrective actions. This will apply even if
                                         the new image is initially approved and then overturned.


                                         Advertising is not permitted. NoFap is not the place for you
                                         to promote your products, services, article, blog, ebook, video,
                                         mailing list, website, etc. Advertiser accounts will be banned.
                                         Note that this prohibition includes initiatives that you may not
                                         be directly involved with, but are run by organizations or
                                         acquaintances you may be affiliated with.


                                         Spam of any kind is prohibited. Spam of any kind will be
                                         subject to moderator action, up to and including a permanent
                                         ban.


                                         Collection of user information is not permitted. Studies,
                                         petitions, or other initiatives that collect user contact
                                         information will be removed unless if first approved by NoFap.
                                         Persistent threads seeking user information without permission
                                         from the NoFap organization will result in a ban.


                                         No posting unsolicited casting notices for reality
                                         television, interviews, or other media correspondence
                                         without first contacting and getting permission from
                                         NoFap. All media requests should be submitted here. All such
                                         postings will be immediately deleted and will be subject to
                                         moderation action

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                                         "NoFap" is the name of our website and it is a registered
                                         trademark. We have other trademarks too, such as
                                         Fapstronaut, Get a New Grip on Life, and People over Porn. In
                                         order to protect our brand and our ability to help people around
                                         the world, we have to enforce our exclusive use of our
                                         trademarks. Click here to view our trademark usage guidelines.
                                         While external websites that utilize our name are not permitted,
                                         we highly encourage users to start their own unofficial
                                         accountability groups within our network. Violating NoFap's
                                         trademarks can result in legal action.


                                         Don't ask for post likes or replies. "For every like/reply I
                                         won't masturbate for a day!" posts will be removed. This also
                                         includes using likes as voting systems, offers to like other users
                                         posts in exchange for recognition, etc., which will be subject to
                                         moderation action.


                                         Before reaching out, you should perform a search to see
                                         if your question or suggestion has already been posted
                                         before. This saves other people's time, improves forum
                                         organization, and reduces redundancy.


                                         Please refrain from posting things of religious or anti-
                                         religious nature unless you’re sharing your personal
                                         story within your personal journal. If someone mentions
                                         how religion or a lack of religion has helped them, do not
                                         criticize them. If you want to debate, use the interreligious
                                         discussion group. Threads that discuss religious topics will
                                         be moved to either the interreligious discussion or the
                                         appropriate religious group. If you are not a member of that
                                         group, the thread will appear deleted to you. Join the group,
                                         and the thread will be visible.Proselytization is prohibited. NoFap
                                         is not an acceptable place to convince users to join your
                                         religion. Unless if you’re sharing your own personal story within
                                         your own personal journal thread, submissions should be
                                         secular so that users from all backgrounds can benefit from it.
                                         Live and let live - regardless of your faith or lack thereof, don't
                                         try to impose your views onto other Fapstronauts. For
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                                         conversation geared towards your particular beliefs, check out
                                         the user-organized Groups feature. If a group doesn't exist for
                                         your religion and you have collective group of people who want
                                         a group then you are more than welcome and encouraged to
                                         start one. Get in-touch with a moderator or administrator.


                                         Don't deliberately detract from the experience of other
                                         users' ability to use the website. This includes excessively
                                         bumping threads, posting the same message repeatedly or in
                                         multiple forum sections, posting excessively in a thread without
                                         feedback from other users (your personal journal excepted),
                                         using nonsensical phrases, using images that are too large and
                                         break the functionality of the website, or other actions that
                                         intend to disrupt the normal use of NoFap will be subject to
                                         moderation action or warning.


                                         Money. We do not allow financial commerce to be conducted on
                                         the forum. That includes offering goods or services, offering
                                         pay-to-join rebooting challenges or wagers/bets, encouraging
                                         people to send you money for any reason, or even offering to
                                         send other people money.


                                         Trolling. This is a pornography addiction recovery and sexual
                                         health forum. To meet that purpose, posts that are designed to
                                         derail constructive conversation - such as "hijacking" a thread
                                         with irrelevant information, spamming, posting only with the
                                         purpose of inciting a dramatic reaction (i.e. "trolling"), concern
                                         trolling (threatening to report a user if they continue to disagree
                                         with a position), or other similar posts, are subject to
                                         moderation action.


                                         Accountability group minimum size is 2, and the absolute
                                         maximum is 20. Some users try to skirt by our anti-
                                         advertising rules by creating giant accountability groups /
                                         brands, which are often used to market goods or services.
                                         Advertising isn't the intended purpose of the website and posts
                                         soliciting mass amounts of personal contact information from
                                         users will be removed by moderators. Groups above 20 people
                                         disrupt the original purpose of this forum (we intend it to be for
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                                         forging personal connections between NoFap users) and
                                         according to research, are simply impractical. This includes
                                         groups that are hosted on group messaging services such as
                                         Kik, Whatsapp, Discord, Slack, etc.


                                         Suicide. Some members may experience depression and
                                         suicidal thoughts. If you are thinking about suicide or self-harm,
                                         seek help immediately. It doesn’t hurt to talk to a trained
                                         professional. Here is a list of hotline phone numbers. A trained
                                         professional can provide you with the help you need in a
                                         discreet and confidential manner. If you notice another user who
                                         is discussing plans to commit suicide, bring it to the attention of
                                         NoFap immediately by reporting the post, messaging a
                                         moderator, and/or emailing us. As hard as it might be to tell if a
                                         situation is real and a crisis, do not engage in “tough love”
                                         tactics, call the poster a troll, call them attention seeker, etc.
                                         First off, you really have zero idea if it is a “real” situation or
                                         not. There is always the very-possible chance that it is a person
                                         in mental crisis. Anyone encouraging a person to commit suicide
                                         will be banned from NoFap. Don’t do it.


                                         Signatures. Signatures must follow all of the rules of the site,
                                         along with a few other restrictions. You may not embed
                                         images from other websites in your signature. This is to
                                         protect the identity of other NoFap users. Furthermore, we only
                                         allow linking to NoFap.com in signatures, not other websites.
                                         You are welcome to link to other websites in threads and posts.
                                         Using large images that break the functionality of the site or
                                         disrupt thread flow are also prohibited.


                                         Threatening. Threatening of any kind is strictly prohibited and
                                         is subject to actions up to and including an immediate ban. This
                                         includes threats of doxxing, violence, illegal activity, real world
                                         attacks/assaults, etc. and includes any type of target, such as a
                                         user, a real person, a moderator, a business, an organization,
                                         etc.


                                         Circumventing or Ignoring Moderator Actions. Any
                                         attempts to circumvent, ignore, or disregard moderator actions
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                                         will result in immediate mutes and/or bans of affected user
                                         accounts. If an account is already muted, a more severe action
                                         will be invoked. If you are banned from the forum, you are not
                                         permitted to evade the ban by making a new account.


                                         Reporting rule-breaking content. If you see something that
                                         breaks our policies, alert the moderation team. If you see a post
                                         that breaks these rules, click the report icon to alert the
                                         moderation team to take action.


                                         Threatening the NoFap Organization. Threatening the NoFap
                                         organization, or any member of the NoFap team, whether as
                                         retaliation for a moderation action or for any other reason is
                                         strictly prohibited. Actions include but are not limited to threats
                                         of violence, frivolous lawsuits, hacking, harassment, etc. Such
                                         threats will result in a permanent ban for the user.


                                         Alts. Alternate user profiles, or alts are permitted in order to
                                         maintain anonymity. However, this must be balanced with the
                                         requirement to maintain good order on the site. Therefore, alt
                                         accounts that are made with an intent to deceive, break rules,
                                         circumvent moderator actions, troll, maintain conversations with
                                         yourself, or engage in other disruptive behavior will be subject
                                         to severe moderator action, up to and including ban of the alt
                                         and/or main accounts. Any punishment applied to on user
                                         account is subject to enforcement on all the user’s accounts,
                                         even if a moderator did not apply the action to the other
                                         account. For instance, if a user’s first account is muted 5 days, a
                                         user shall not use a second account during that time, even if it
                                         wasn’t muted. Violating this will get the alt account banned and
                                         a more serious penalty assessed against the main account.


                                         Quoting Personal Journals. Due to the personal nature of
                                         journals, prior to quoting information from another user’s
                                         journal into another thread, users are required to obtain
                                         permission from the author. Violations of this policy will result in
                                         moderator action.


                                         Improper Use of the Reporting System. The reporting
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                                         system is for official use only. Improper use of the moderation
                                         system diverts resources away from the moderation system
                                         being able to resolve genuine reports. Using the reporting
                                         system for any other reason, such as spamming, harassing the
                                         moderation team, attempting to circumvent a mute, etc. is not
                                         permitted and users will be subject to moderator action.


                                         Other Disclosures


                                         The NoFap moderation team reserves the right to remove
                                         content or restrict users' posting privileges as necessary if it is
                                         deemed detrimental to the NoFap organization or to the
                                         experience of other users. Final interpretation of the rules rest
                                         with the NoFap moderation team. The moderation team is not
                                         required to provide an explanation as to why they considered
                                         the post a violation of the rules. See the user agreement, which
                                         is linked on the footer of every page.


                                         Some staff, contractors, volunteers, or other members of the
                                         NoFap team use usernames or aliases instead of their real
                                         names. This is done for various personal reasons, but often to
                                         prevent their work here from interfering with their outside-
                                         NoFap-lives.


                                         If you have any questions or comments about the rules, contact
                                         a moderator.


                                         Frequently Asked Questions


                                         Are these conditions challenging my freedom of speech?


                                         A frequent rebuttal that the moderators get is the suggestion
                                         that such rules are a breach of freedom of posting and freedom
                                         of speech.


                                         A conclusive response to this question has to be: it’s a
                                         compromise. This is not 4chan, and this forum is not the same
                                         as our Reddit-hosted forum. This site may be more heavily
                                         moderated than other forums, but it is designed to be for the
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                                         benefit of everyone, to keep this site as a safe haven for people
                                         to come to when they are trying to quit PMO. Private
                                         organizations have the right to create rules that best serve the
                                         organization's purpose, similar to a restaurant not allowing
                                         people to dine in unsanitary ways. For example, we do not allow
                                         people to post pornography because the forums intention is to
                                         help those who are trying to quit using pornography.


                                         We are not trying to create some sort of George Orwell inspired
                                         dystopia. If you feel that moving to another forum would be
                                         more beneficial for you, by all means go ahead. But it has been
                                         proven that we cannot always expect people to behave maturely
                                         here. As a result, we balance the benefits of free speech with
                                         reasonable regulations.


                                         Can I appeal a moderator action?


                                         You are welcome to voice your concerns, but moderator actions
                                         are usually not reversed. The moderation team typically reviews
                                         a thread and discussed the best course of action as a group
                                         prior to acting. As a result, the likelihood of a “rogue
                                         moderator” acting contrary to the forum rules is unlikely. That
                                         being said, you may request a review of a moderator action by
                                         contacting NoFap within a reasonable period of time, normally
                                         within a week of the action. If senior staff feel that it is
                                         warranted, a moderator action may be reviewed. If the action is
                                         reversed, you will be contacted, normally within 14 days. If you
                                         do not receive a response within 14 days, consider your appeal
                                         rejected. A response may not be sent if the action is not
                                         reversed. An action will only be reversed if the action was not
                                         the appropriate action for the violation. For instance, if a user
                                         posts pornography, apologizing and requesting a permanent ban
                                         be lifted will likely not be considered as the ban was in keeping
                                         with the forum rules. Additionally, the specifics of moderation
                                         actions, such as the moderators involved, details of reports, and
                                         rationale used in the decision will not be disclosed.


                                         Can I contact a moderator for personal advice?


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                                         Do not contact us for personal advice, questions about
                                         rebooting, etc. Any moderator that offers to provide advice is
                                         doing so in the role of a private user and does not represent
                                         NoFap in that role.


                                         Your personal advice inquiry should be posted in the appropriate
                                         forum section for community feedback. We do not have the
                                         resources to give you free 1:1 support through your reboot.
                                         That is what the forums are for, peer-to-peer support and
                                         camaraderie.


                                         To get our advice, download the Getting Started guide and read
                                         through our website pages. We'll likely be releasing more
                                         information in the future and support options to help you
                                         through your reboot.


                                         Where can I receive technical support or leave
                                         suggestions?


                                         Technical support questions belong in the NoFap Technical
                                         Support forum section. But first, did you read the Forum Usage
                                         Guide? It has many answers to common questions such as
                                         changing usernames, posting threads, removing accounts, etc.


                                         There isn't any guarantee that your thread will be responded to
                                         by a team member. Team members do respond to threads,
                                         when time permits. We do monitor threads to ensure there
                                         aren't technical issues with the website.


                                         Suggestions may be made via this section, but also the Contact
                                         page if you would prefer to make a suggestion privately. Most
                                         inquiries are not responded to, as we get many of them on a
                                         daily basis, but rest assured that it has been read. Not all
                                         suggestions are implemented for a variety of reasons (likely
                                         financial or time limitations), but we do take feedback seriously
                                         and consider everything.


                                         What are ways I can contribute to the website?


https://forum.nofap.com/index.php?threads/nofaps-forum-posting-rules-and-etiquette-guidelines.121256/          13/15
10/22/2019                               NoFap's Forum
                      Case 2:19-cv-01366-MPK           Posting Rules
                                                 Document       1-3 andFiled
                                                                        Etiquette Guidelines | NoFap®
                                                                              10/22/19         Page 14 of 15
                                         Currently, you can become a premium member. For a low
                                         monthly fee, you gain access to the shoutbox chat, multi-user
                                         conversations, and other unique features.


                                         If you wish to contribute time, you can join our moderation
                                         team, starting out as a Moderator Assistant. You will remove
                                         spam, move threads, and notify the Moderation Team of rule
                                         breaking posts. Please PM @themammothrept if you are
                                         interested. We are also always looking for people willing to
                                         volunteer their time as a writer, coder, or web designer. If you
                                         are interested, please e-mail contact@nofap.com with a sample
                                         of your work.


                                         Store and Premium


                                         Inquiries about paid-for products or services, such as Store
                                         merchandise orders or Premium memberships may be made by
                                         opening a support ticket at NoFap.com/support.


                                         Press


                                         Journalists, producers, or other mass-media creators, should
                                         contact NoFap on our Contact page, but only after reading our
                                         press kit for a basic overview about our organization.


                                         Research


                                         We do not allow the surveying of users without authorization.
                                         Academic researchers should contact NoFap directly for
                                         permission, vetting, and approval before posting studies.
                                                                                                        Last edited by a moderator: Mar 8, 2019

                                         Moderation Team, Aug 10, 2017                                                                     #1

                                          itsoverformanymen, Abesnake, The Portuguese Tank and 29 others like this.




                                                                                               (You must log in or sign up to reply here.)

   Thread Status: Not open for further replies.                                                                                              

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